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                                   UNITED STATES DISTRICT COURT
                                       DISTRICT OF MARYLAND
                                        (BALTIMORE DIVISION)

Changzhou Kaidi Electrical Co., Ltd. and
Kaidi, LLC

       Plaintiffs,
                                                       C~. No., 1,13-~-1798     r       ~~
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       v.                                                                               -0
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Okin America, Inc. and Dewert Okin GmbH                                              f'Tlh;
                                                                                 '"v
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                                                                                 -!               N
                                                                                                  1',)
       Defendants.                                                               -<




                                                 VERDICT

        Ladies and gentlemen of the jury, it is now your duty to answer the questions presented in this

verdict form after deliberation.   Please answer the questions in the order in which they appear.




                                             INFRINGEMENT

I.      Has Okin proven that it is more likely than not that Kaidi has infringed the following claims of

Okin's ' 144 Patent?

                                                                  YES                               NO
                                                               (For Okin)                       (For Kaidi)
       '144 Patent                   Claim 1                                                        V
                                     Claim 26                                                       V
                                     Claim 27                                                       1/
                                     Claim 28                                                        1/"-
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                                               INVALIDITY

2.     Has Kaidi proven by clear and convincing evidence that Claim 1 of the '144 Patent is invalid as

anticipated by the Takei ' 104 prior art reference?




       '144 Patent                   Claim I




                                                      2
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                                                     DAMAGES

     Answer the following questions only if there is at least one claim of the '144 Patent that is infringed

     (Question No.1) and is not invalid (Question No.2).




     3.      What is the total amount of reasonable royalty damages to which Okin is entitled as

     compensation for Kaidi' s infringement of the' 144 Patent? .




             $---------
     4.      What is the royalty rate that was used to detennine the reasonable royalty damages in Question

     NO.3?

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    -7- .---_. -"/
/    Jury Foreperson




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